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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )                   4:03CR3014
                                            )
             V.                             )
                                            )
HA T.T. NGUYEN,                             )                      ORDER
                                            )
                    Defendant.              )

       The defendant has submitted a document which I construe to be a motion seeking a
reduction in the defendant’s sentence pursuant to 18 U.S.C. § 3582(c)(2) as a result of the
Sentencing Commission’s decision to make the amendments to the “crack” Guidelines
retroactive. The procedures that the court will use to handle such motions are currently
being developed, and the amendments are not retroactive until March 3, 2008. Therefore,

      IT IS ORDERED that:

      1.     The defendant’s submission (filing 377) is considered to be a motion
             made pursuant to 18 U.S.C. § 3582(c)(2).

      2.     The defendant’s motion (filing 377) pursuant to 18 U.S.C. § 3582(c)(2)
             shall be held in abeyance until further order of the court.

      3.     My judicial assistant shall call this case to my attention on February 29,
             2008.

      4.     A copy of this memorandum and order shall be transmitted to Chief
             Probation Officer James Rowoldt and Chief Deputy Probation Officer
             Mary Lee Ranheim. I request: (a) that they begin to compile a list of all
             cases on my docket that may warrant a reduction in sentence due to the
             retroactive amendment of the “crack” Guidelines; (b) that they add this
             case to that list; (c) that they begin to develop procedures for the
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            disposition of these types of cases by the probation office; and (d) that
            they advise me when the aforementioned procedures have been
            finalized.

      5.    The Clerk shall mail a copy of this memorandum and order to the last
            known address of the defendant.

      December 18, 2007.                 BY THE COURT:

                                         S/ Richard G. Kopf
                                         United States District Judge




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